                  Case 1:20-mj-00127-EPG Document 1 Filed 11/13/20 Page 1 of 14FILED
                                                                                                                           Nov 13, 2020
                                                                                                                        CLERK, U.S. DISTRICT COURT
                                                                                                                      EASTERN DISTRICT OF CALIFORNIA
AO 91 (Rev. 11111) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Eastern District of California

                  United States of America                           )
                              v.                                     )
                      Kevin James Strutz
                                                                     )      Case No.    1:20-mj-00127-EPG
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)


                                                 CRIMINAL COMPLAINT
           I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                February - June, 2020             in the county of            Stanislaus                    in the
        Eastern         District of          California         , the defendant(s) violated:

             Code Section                                                      Offense Description
18 USC 2261A(2)(B)                              STALKING - (Cyber Stalking)




           This criminal complaint is based on these facts:

See attached complaint affidavit




           ~ Continued on the attached sheet.




                                                                                       Matthew Kamilos, Special Agent, FBI
                                                                                               Printed name and title


Sworn to before me and signed in my presence.


Date:      Nov 12, 2020
                                                                                                 Judge 's signature


City and state:              Fresno, CA                                        Erica P. Grosjean, US Magistrate Judge
                                                                                               Prinled name and lille
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                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF CALIFORNIA



            AFFIDA VIT IN SUPPORT OF A CRIMINAL COMPLAINT AGAINST
                               KEVIN JAMES STRUTZ
       I, Special Agent Matthew Kamilos, being first duly sworn, hereby state as follows:


                     INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent (SA) with the Federal Bureau of Investigation(FBI), and have

been since September 2019. I am currently assigned to the Sacramento Division, Stockton

Resident Agency. I attended over 20 weeks of training at the FBI Academy in Quantico,

Virginia and received training in areas including cybercrimes, crimes against children, criminal

investigations, and constitutional law. Since my employment with the FBI, I have been the

affiant on federal search warrants for digital devices and internet telecommunication websites

such as Facebook. Prior to my employment with the FBI, I was a Police Officer for four years

with the Fayetteville Police Department in Fayetteville, Arkansas. I attended the Arkansas Law

Enforcement Training Academy for 13 weeks and then had 16 additional weeks of field training.

I was trained to investigate various state crimes including rape, sexual assault, domestic violence,

and crimes against children. Moreover, I am a federal law enforcement officer who is engaged

in enforcing criminal laws, including 18 U.S.C. § 2261A(2)(B) and I am authorized by the

Attorney General to request a search warrant.

       2.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

       3.      I make this affidavit in support of an application for a Criminal Complaint against

Kevin James STRUTZ (hereafter STRUTZ).
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                                            STATUTORY AUTHORITY

         4.       This investigation concerns alleged violations of Title 18, United States Code,

Section 2261A(2)(B), entitled "Stalking." This statute provides that "whoever, with the intent to

kill, injure, harass, intimidate, or place under surveillance with intent to kill, injure, harass, or

intimidate another person, uses the mail, any interactive computer service or electronic

communication service or electronic communication system of interstate or foreign commerce to

engage in a course of conduct that causes, attempts to cause, or would be reasonably expected to

cause substantial emotional distress to a person" shall be in violation of the statute.



                                             PROBABLE CAUSE

         5.       As set forth below, there is probable cause to believe that STRUTZ committed the

federal offense of stalking [18 U.S.c. § 2261A(2)(B)]. Specifically, as detailed below, there is

probable cause to believe that STRUTZ committed this offense against VICTIM 11,via

Facebook Messenger. From February 2020 to June 2020, STRUTZ sent various threatening and

intimidating messages to VICTIM 1. One of the messages included a nude image of VICTIM 1,

in which STRUTZ threatened to send the nude image to VICTIM 1's contacts if she did not

comply with his demands. The nude image, according to VICTIM 1, was taken against her will

and without her knowledge or consent while she stayed at an Airbnb at 3412 Soda Canyon

Drive, Ceres, California. The harassment began after VICTIM 1 left the Airbnb where STRUTZ

lives with his mother.

                                           Interview of VICTIM 1

        6.        On June 19,2020, VICTIM 1 contacted FBI Stockton regarding internet-based

harassment and threats. I interviewed VICTIM 1 by telephone and she provided the following

information:



1VICTIM 1 is currently the only known victim in this case. Her identity was withheld from this affidavit for her
protection but is known to the FBI
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       7.       VICTIM 1 works as an occupational therapist. From January 13 through April

18, 2020, she worked as a traveling occupational therapist in Ceres, California. While staying in

Ceres, she booked an individual bedroom through Airbnb at a house located at 3412 Soda

Canyon Drive, Ceres, CA, 95307. This Airbnb was hosted and owned by CYNTHIA EARL

(hereafter EARL). The Airbnb hosted two guests in individual bedrooms while EARL and her

son, STRUTZ, also lived at the house. Both guests and STRUTZ shared the same bathroom and

kitchen. VICTIM 1 said during her time at the Airbnb on Soda Canyon Drive, she never learned

STRUTZ’s name because she had very few interactions with him. She only learned of his name

through Facebook after she had stopped living in the residence.

       8.       On February 15, 2020, VICTIM 1 went into the bathroom of the residence in

Ceres and saw a smartphone on the back of the toilet with a message drafted on it. The text

message was not addressed to any contact or number and her name was typed out in bold

letters. VICTIM 1 paraphrased the message to the best of her memory as follows: "This girl

(VICTIM 1) is driving me crazy. She’s accidentally sexy. I don't think that's what she wants

here. I never get what I want and it frustrates me..." VICTIM 1 said the message carried on and

it filled the entire phone screen. VICTIM 1 locked the phone, quickly took a shower, and left the

Airbnb. She messaged Airbnb about the incident and quickly received a response back from the

company. Airbnb helped her get into a hotel for a night so she could leave the Soda Canyon

Drive, and then helped relocate her to a different residence.

       9.       On March 20, 2020, VICTIM 1 checked her Facebook Messenger account and

noticed a message from the Facebook username “Kevin J Strutz”

(www.facebook.com/Beachhead86). The profile picture on the account matched the person who

had been at the Airbnb on Soda Canyon Drive in Ceres. This message was sent on February 20,

2020, but she did not see it until March 20. The message stated the following:

       10.      “Well I sure wish u would have said something instead of abruptly leaving. U

were in no danger of anything happening to u. that wasn’t for real what u read on my phone.

That was to see if you would be nosey n look at my phone, I didn’t think u would but u did. If u
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had looked close enough u would have seen it wasn't even bein sent to anyone. Don't get me

wrong, I admire u for yer motivation, but yer half my age n u have a bf. I don't think ofu like

that. 1m sorry u had to feel that way.my Mom almost lost her hosting. She doesn't deserve that. I

didn't think that one through. I wish u well."

        11.     She also received a message from the Facebook usemame "Jake Kayhill"

(www.facebook.comijisserme.timbers.7).           Jake Kayhill's profile picture is a different picture of

STRUTZ. That message said the following:

        12.     "It was me that wanted to fuck the shit outta u, not my Son, but u would have

never known that ifu didn't look at my phone that I left in the bathroom. I woulda never made

any more on u. I wouldn't wanna put u in an awkward position, but it happened anyway, cuz u

freaked out. Plus I wouldn't have done that to my Mom. yer gonna find that in the traveling u do,

there's gonna be people whom are attracted to u, but doesn't mean they would act on it. 1m a

realist so I say what most people wont. rude? Maybe would I have loved to have pounded on that

pussy? Of course I would have, but it's not a reality. N I know that. Just a fantasy. plain n

simple." VICTIM 1 saved both of these me~sages as screenshots on her phone.

        13.    After consulting with friends and family about the incident, VICTIM 1 filed an

online police report with the Ceres Police Department on April 13,2020. On May 27, 2020,

VICTIM 1 discovered more threatening and harassing messages from STRUTZ which had been

sent from the Kayhill Facebook profile (www.facebook.comijisserme.timbers.7).             All of the

following harassing messages in this affidavit were sent from this profile. VICTIM 1 notified

Airbnb about the additional messages.

        14.    On May 15,2020, STRUTZ, sent the following message: "I really just wanted to

fuck u in the ass n then cum in yer mouth, but u got all scared. wow." On May 18,2020, he sent

the following message: "Everything woulda been just fine if u had just let me fuck that tight ass

pussy really hard n really fast."

        15.    On June 17,2020, VICTIM 1 discovered she received more messages and a nude
photograph of herself from STRUTZ. The first message said "U shouldn't have involved my
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Mom in the texts I sent u. now I'm gonna send the nude pies u sent me of u getting in the shower

to all yer contacts." STRUTZ then sent the nude image. Following the nude image, STRUTZ

sent this threatening message: "Now send me a lil video ofu rubbin that tight Lil pussy or I will

send out those pies. its up to u."

        16.     The image showed VICTIM 1 in the Airbnb bathroom nude from just above the

genitals and has her left breast exposed. VICTIM 1 was brushing her teeth and her hair appeared

wet as if she had just gotten out of the shower. The photo is not included in this affidavit but was
retained as evidence by the FBI.

        17.    VICTIM 1 said the photo must have been taken from a hidden camera in the

bathroom at the Airbnb. She said the camera might have been inside a large air freshener that

was in the bathroom. She said the air freshener would change from time to time and was

occasionally placed at different locations in the bathroom, including the counter and the back of

the toilet. She reported the incident again to Airbnb, followed up with Ceres Police Department,

and blocked both the Jake Kayhill and Kevin J Strutz profiles on Facebook.

        18.    VICTIM 1 saved screenshots of all the Facebook messages, her communications

with Airbnb, text messages she sent to friends and co-workers about the incident, and her

contacts with Ceres Police Department. All screenshots were provided to the FBI. VICTIM 1

said all of the messages STRUTZ sent to VICTIM 1 were unsolicited and VICTIM 1 never

replied to any of them. VICTIM 1 said she never sent STRUTZ, or anyone, any nude images of

herself. She also said she never had sexual activity of any kind with STRUTZ or anyone in

California.

                                Preservation Requests to Facebook

        19.    On June 22,2020, a preservation request [under 18 U.S.C. § 2703(f)] was sent to

Facebook to preserve Facebook account www.facebook.comlBeachhead86.             On June 23, 2020,

a second preservation request was sent to Facebook to preserve account

www.facebook.com/jisserme.timbers.7.       Facebook was asked to preserve all files regarding

these accounts dating from January 1,2020, through June 22 and June 23 respectively.
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                             Database Checks into Kevin STRUTZ

        20.     Based on the interview with VICTIM 1, I queried Kevin STRUTZ and the Airbnb

address at 3412 Soda Canyon Drive, Ceres, CA, 95307 in several open source and FBI

databases, including the California DMV. I also viewed both Facebook profiles, which are

public. These checks revealed that Kevin James STRUTZ, DOB July 11, 1971, resides at 3412

Soda Canyon Drive, Ceres, CA 95307. STRUTZ's California Driver's License photo matches

the appearance of both Facebook profiles. Both Facebook profiles share several of the same
previous profile pictures.

                     STRUTZ'S Criminal History and Previous Stalking Incident

        2l.     When I checked STRUTZ's criminal history, I discovered he has several arrests

dating from 1991 to as recent as 2018. Offenses include stalking, violating court orders to

prevent domestic violence, possession of controlled substances, vehicle theft, trespassing,

burglary, robbery, and assault with a deadly weapon.

        22.     More specifically, in September 2005, STRUTZ was arrested and later convicted

of Stalking in violation of a Temporary Restraining Order placed against him. According to the

police report, STRUTZ, after being served a temporary Restraining Order, stalked his ex-

girlfriend by repeatedly making contact with her through various means. Those means included

leaving notes on the windshield of her vehicle parked at her place of employment, mailing her

letters, leaving a letter on her doorstep, and leaving her voicemails on her phone. His ex-

girlfriend said she feared for her life and was also worried the harassment would cause her to

lose her job.

        23.     On February 2, 2019, STRUTZ had a Civil Harassment/Protection Order served

against him with three protected persons. The order shows STRUTZ to have violent tendencies.

He is also currently on probation for drug offenses.
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                Search Warrant Executed on STRUTZ's Facebook Accounts

                                      Threat and Nude Image

        24.    On August 25,2020, United States Magistrate Judge Stanley A. Boone signed a

search warrant for the search of both of STRUTZ's Facebook Accounts,

www.facebook.com/jisserme.timbers.7         and www.facebook.com/Beachhead86.      The warrant

was served on August 26,2020. Facebook Inc returned the requested records on September 21,

2020.

        25.    The records corroborated VICTIM 1's allegation that STRUTZ sent VICTIM 1

the following messages in Facebook Messenger from account

www.facebook.com/jisserme.tim       bers. 7:

        26.    June 6, 2020 at 07:50:54 UTC, "U shouldn't have involved my Mom in the texts I

sent u. now I'm gonna send the nude pics u sent me of u getting in the shower to all yer

contacts. "

        27.    June 6, 2020, 21 :00:04 UTC, STRUTZ sent VICTIM 1 the nude image of herself;

Facebook photo ID 297010341328790. The photo is not included in this affidavit but was

retained as evidence by the FBI. This photo was the same one provided by VICTIM 1 during her

interview.
        28.    June 11,2020 at 05:54:09 UTC, "Now send me a IiI video ofu rubbin that tight

Lil pussy or I will send out those pies. its up to u."

        29.     All other messages sent by STRUTZ to VICTIM 1 from both Facebook accounts

were no longer in the Facebook records.

                 Other Relevant Information from Facebook Account Records

        30.     In Facebook account www.facebook.com/Beachhead86.         between February 16,

2020 and February 18,2020, STRUTZ searched VICTIM 1's name thirty-one (31) times; this

included spelling the name in various formats. In Facebook account
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www.facebook.com/jisserme.timbers.7.       STRUTZ searched VICTIM l's name five (5) times

between March 8, 2020 and March 22, 2020.

        31.     In Facebook account www.facebook.comlBeachhead86.           a message thread from

February 14,2020, and February 17,2020, between STRUTZ and a female named "Christina

SILVEIRA" provided additional pertinent information. In summary, SILVEIRA asked to

borrow STRUTZ's vehicle. STRUTZ explained several times that for SILVEIRA to be able to

borrow his vehicle she would have to provide him sexual favors. SILVEIRA also stated at the

end of the conversation the "pink" must be signed before she will do anything. I believe, based

on the context of the messages, SILVEIRA wanted in writing that after she provided him sexual

favors, he would allow her to borrow a car. This behavior is consistent with the complaint by the

victim of this case, VICTIM 1, that a nude image was taken of her without her knowledge and

consent, and then used to intimidate and harass her in return for sexual conduct.

        32.     Another pertinent piece of information from the message thread is that in a

message from February 16,2020, STRUTZ said he has his bedroom back again. February 16,

2020 was the day after VICTIM 1 left the Airbnb at 3412 Soda Canyon Drive, I believe the

bedroom VICTIM 1 stayed in is STRUTZ's bedroom when an Airbnb guest is not. The

following is the message thread:

        33.     STRUTZ, February 14,202008:19:46        UTC: "Everything woulda worked out for

u.I just thought u would have wanted to do what u gotta do to not have to go to jail.! guess u

think I'm a real shit for brains,n would give up my car in exchange for fuckin u in the ass once n

not even bein able to cum in yer mouth.! told u I'd help u with whatever u need,but u don't seem

to really want that."

        34.     SILVEIRA, February 14,2020,08:35:33       UTC: "Your the bigger that offered that

not me stupid ass.. u don't want to help me with anything unless I give u what u want.. if u do

have another car then u could at least let me use the old car now n then but you would never even

do that without wanting shit that I told u I do not want to do because I was forced to do it when I

was 7 n 8. Your a piece of shit for even continuing to press the issue.. I do not want to stay with
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you Kevin and a real friend would not expect something every time they help another friend out..

that's what friend are supposed to be for.."

          35.    STRUTZ, February 14,2020,08:53:26       UTC: "Well u got it all figured out then I
guess."

          36.    STRUTZ, February 16, 2020, 20:34: 18 UTC: "I got my room back. we gonna do

this or what?"

          37.    SILVEIRA, February 16,2020,20:36:45       UTC: "Do what for what exactly?"

          38.    STRUTZ, February 16,2020,20:37:24      UTC: "For the car"

          39.    SILVEIRA, February 16,2020,20:37:53      UTC: "Yes but what exactly do u expect
Kevin"

          40.    STRUTZ, February 16,2020,20:38:45      UTC: "U know"

          41.    SILVEIRA, February 16,2020,20:40:45      UTC: "Kevin 1m not gonna keep

repeating myself .. your not cummig in my mouth"

          42.    STRUTZ, 2020-02-16 20:43:03 UTC: "Ok I'll tell u right before I cum n then I'll
cum on yer face"

          43.    STRUTZ, February 16,2020,20:43:41      UTC: "I wanna cum more than once"

          44.    STRUTZ, February 16,2020,20:44:41      UTC: "Cuz I still wanna fuck u in the ass
too"

          45.    SILVEIRA, February 16,2020,22:22:15       UTC: "IDK how thats gonna work

cause once I squirt I'm pretty much done:

          46.    SILVEIRA, February 16,2020,22:24: 12 UTC: "I will try it but like I said the

pink needs to be signed first"

          47.    STRUTZ, February 17,2020,07:10:22      UTC: "Alright let's do it"

                   SEARCH WARRANT AT 3412 SODA CANYON DRIVE

                        AND INTERVIEW OF KEVIN JAMES STRUTZ

          48.    On 11/3/2020,   United States Magistrate Judge Barbara A. McAuliffe signed a

Federal Search Warrant to search 3412 Soda Canyon Drive, Ceres, California. The warrant also
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permitted the search of Kevin STRUTZ's person and his 2002 Silver BMW 325i Sedan. On

11112/20, at approximately 6:03am, FBI Stockton with the assistance of the CDCR SWAT team

served the search warrant. After knocking and announcing at the front door that it was the police

and there was a search warrant, STRUTZ answered the door. STRUTZ cracked the front door

open which is behind a second security gated door. STRUTZ asked why police were there and he

was advised it was for a'search warrant for him and the house. STRUTZ said "you don't have a

search warrant for me" and proceeded to slam the door shut and fled within the home. STRUTZ

proceeded to barricade himself in the attic of the home. After approximately two and a half

hours of searching and asking STRUTZ to exit the attic, officers entered the attic, detained

STRUTZ, and he then exited the residence without any further incident. At approximately

8:50am, I interviewed STRUTZ in the garage of the residence. Special Agent Brian Toy also

assisted in the interview. At 8:57am, STRUTZ was read his Miranda Rights with an FD-395

advice or rights form. The form was signed by both special agents and was later signed by

STRUTZ. The form was held in front of him to read as I read his rights aloud. STRUTZ said he

understood his rights and agreed to answer questions without a lawyer present. STRUTZ

proceeded to give the following statement:

       49.     STRUTZ said he has lived at his mother's residence of3412 Soda Canyon Drive,

Ceres CA on and off since approximately 2009. He resided in the first bedroom which sets on

the west side of the home, closest to the garage. STRUTZ was unemployed and had been since

April of 2019. He confirmed his two Facebook accounts, Kevin 1 Strutz

(www.facebook.com/Beachhead86) and lake Kayhill

(www.facebook.com/jisserme.timbers.7).          STRUTZ said he did not know why the FBI or police

were there. He said he was not sure it was actually police at the door when they knocked at 6am

but said he fled and hid in the attic because he had been previously arrested for things he had not

done and he did not want to go to jail again.

       50.     STRUTZ said his mother previously rented out rooms in the house through

Airbnb. He said guests would occasionally stay in his room or his son's room, which was
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adjacent to his. He said whenever there was a guest staying in his room he would sleep on the

couch. He said a young female guest did stay at the residence in January and February and said

she abruptly left after a month long stay. During her stay, he had very little interaction with her

and did not get to know too much about her. He said he never traded cell phone information with

her and had no kind of contact with her. He said she complained to Airbnb and that it caused his

mother to lose her ability to rent the home out through Airbnb. He said this made him angry and

that he went on to look her up on Facebook. He sent several harassing messages to VICTIM 1.

He said she never responded and was not even sure if she received the messages. He said he did

this to "demean" her. He said he has messed with many other people on the internet in the past

and said other people do it all the time.

        51.    STRUTZ went on to admit he video recorded VICTIM 1 with a cellphone without

her knowledge or consent that he put in a basket that was set on the countertop in the bathroom.

He admitted to sending all of the messages to her, including the nude image. He said the image

he sent was a still image from the video he recorded of her. He said he only made one video

recording and that he never shared it with anyone or posted it anywhere online. STRUTZ said he

never intended to follow through with his threat to VICTIM 1 to share the image with others. He

did not think she would actually respond by sending him more nude images but knew he went

"too far" with the threats and harassment me made towards her.

        52.    STRUTZ said other women had accused him of similar things in the past. He said

he currently has a restraining order served against him dating back to 2019 because someone he

used to be in a relationship with did not agree to have sexual relations with him in return for

something. He said he also used to place letters on her car and this bothered her and she filed a

restraining order against him.

        53.     STRUTZ provided special agents with his password to enter his electronic

devices, including his cell phones, an iPhone 8 and an iPhone 10. His electronic devices were

seized to be further examined for evidence. Several other cell phones belonging to STRUTZ

were also seized. STRUTZ said there were likely other videos on his devices similar to the
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content related to that of VICTIM 1 but said that any other videos found on his devices were

consensual, unlike the video taken of VICTIM 1. STRUTZ said he never did anything like this to

previous Airbnb guests.

                               SUMMARY           AND CONCLUSION


       54.       On January 13,2020, VICTIM 1 began her stay as an Airbnb Guest at 3412 Soda

Canyon Drive, hosted by Cynthia EARL. On February 15,2020, VICTIM 1 discovered the

message presumably describing her, drafted on a phone in the shared bathroom of the residence.

VICTIM 1 left the Airbnb immediately and reported the incident to Airbnb. Following this date,

STRUTZ began to intimidate and harass VICTIM 1 by sending her numerous messages via

Facebook Messenger from his two Facebook accounts, www.facebook.com/jisserme.timbers.7

and www.facebook.comlBeachhead86.             VICTIM 1 later filed a police report with Ceres Police

Department, although at the time, only had reported it and did not follow through to press

charges for prosecution at the state level.

        55.      On June 6, 2020, STRUTZ sent a nude image of VICTIM 1 to VICTIM 1 and

threatened to send the image to her contacts if she refused to send him more nude images of

herself to him. VICTIM 1 said she never sent any images to VICTIM 1 and believed STRUTZ

took the image of her with a hidden camera without her knowledge or consent. VICTIM 1

proceeded to block both Facebook accounts belonging to STRUTZ.

        56.      VICTIM 1 contacted the Ceres Police Department and pressed charges against

STRUTZ and provided Ceres PD with the new information. VICTIM 1 later reached out to the

FBI and after discussions between the FBI and Ceres PD, the FBI decided to take the

investigation.

        57.      A thorough investigation was completed into the allegations made by VICTIM l.

After analysis from the Ceres PD reports, database checks, criminal history checks, a Federal

Grand Jury Subpoena to Airbnb, a Federal Search Warrant on both of STRUTZ's Facebook

accounts, a Federal Search Warrant for STRUTZ at 3412 Soda Canyon Drive, and STRUTZ's
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statement, I hereby submit that there is probable cause to arrest and charge STRUTZ on

violations of 18 U.S.C. § 2261A(2)(B).




I declare under penalty ofperjury   under the laws of the United States that the information   in this

affidavit is true and correct.




                                    Matthew Kamilos, Special Agent
                                    Federal Bureau ofInvestigation




 Sworn to me in accordance with Fed.R.Crim.P.      4.1 by email and telephone,


 Date: November     12, 2020



                                                Honorable Erica P. Grosjean
                                                United States Magistrate Judge
